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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

TYRONE OLIVER,                      )
                                    )
            Plaintiff,              )
                                    )
v.                                  )          No. 09-2555-STA-dkv
                                    )
DEUTSCHE BANK NATIONAL              )
TRUST COMPANY, et al.               )
                                    )
            Defendants.             )
______________________________________________________________________________

         ORDER ADOPTING THE MAGISTRATE JUDGE’S REPORT AND
                             RECOMMENDATION
______________________________________________________________________________

       Before the Court is Defendants’ Motion to Dismiss Plaintiff’s Complaint for failure to

comply with previous court orders (D.E. # 17), filed on February 1, 2010. Plaintiff failed to

respond to Defendants’ Motion. The Magistrate Judge recommended that Defendants’ Motion

be granted and the case dismissed. Plaintiff has filed no objections to the Magistrate Judge’s

Report and Recommendation within the time permitted. Having reviewed the Magistrate

Judge’s report and recommendation de novo, and the entire record of the proceeding, the Court

hereby ADOPTS the Magistrate Judge’s report and dismisses Plaintiff’s case.

       IT IS SO ORDERED.

                                             s/ S. Thomas Anderson
                                             S. THOMAS ANDERSON
                                             UNITED STATES DISTRICT JUDGE

                                             Date: March 30th, 2010.
